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     United States Bankruptcy Court for the:
      Northern               of Illinois
                        ~i~~~~~~

     Case number ( / f k n o ~ . n ) :                                  Chapter you are filing under:
                                                                        (X Chapter 7
                                                                        a  Chapter II
                                                                        0 Chapter 12
                                                                        0 Chapter I 3                                                 0 Check if this is an
                  ---                                                                                                                    amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy
 The bankruptcy forms use youand Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together--called a
joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
 the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1and
 Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor Iand the other as Debtor 2. The
 same person must be Debtor Iin all of the forms.
 Be as complete and accurate as possible, If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.


                  Identify Yourself

                                           About Debtor I:                                               About Debtor 2 (Spouse Only i n a Joint Case):
I. Your full name
       Write the name that is on your
       government-issued picture
       identification (for example,        First name                                                    First name
       your driver's license or
       passport).                          Middle name                                                   Middle name
       Bring your picture                   Gregoriou
       identification to your meeting      Last name                                                     Last name
       with the trustee.
                                           Suffix (Sr., Jr., 11, 111)                                    Suffix (Sr., Jr.. 11, 111)




2.     All other names you
       have used in the last 8             First name                                                    Ftnt name
       years
        Include your married or            Middle name                                                   Middle name
        maiden names.
                                           Last name                                                     Last name


                                           First name                                                    First name

                                           Middle name                                                   Middle name

                                           Last name                                                     Last name




3.     Only the last 4 digits of
       your Social Security
       number or federal
       Individual Taxpayer
       Identification number
       (ITIN)

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Debtor 1       Nickie                             Gregoriou                                  Case number (nhmvn)
              Fna Name    w&eNane               ~ a a~
                                                     t ame




                                    About Debtor I:                                               About Debtor 2 (Spouse Only i n a Joint Case):


4.   Any business names
     and Employer                   a I have not used any business names or ElNs                         I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in
     the last 8 years               Business name                                                 Business name
     Include trade names and
     doing business as names        Business name                                                 Business name




                                    -- -          ------A                                         -- - -------
                                    EIN                                                           EIN




5.   Where you live                                                                               If Debtor 2 lives at a different address:


                                     8925 N.Oriole
                                    Number      Street                                            Number         Street




                                     Morton Grove                         IL.      60053
                                    city                                 State    ZIP Code        City                                     State   ZIP Code

                                     Cook
                                    County                                                        County

                                    If your mailing address is different from the one             If Debtor 2's mailing address is different from
                                    above, fill it i n here. Note that the court will send        yours, fill it i n here. Note that the court will send
                                    any notices to you at this mailing address.                   any notices to this mailing address.



                                    Number         Street                                        ,Number         Street


                                    P.O. Box                                                      P.O. Box


                                    citv                                 State    ZIP Code        City                                     State   ZIP Code




6.   Why you are choosing           Check one:                                                    Check one:
     this district to file for
     bankruptcy                     a Over the last 180 days before filing this petition,         0 Over the last 180 days before filing this petition,
                                      other district.
                                                                       - than in anv
                                      I have lived in this district lonaer                            I have lived in this district longer than in any
                                                                                                      other district.

                                    a I have another reason. Explain.                                    I have another reason. Explain.
                                           (See 28 U.S.C.    3 1408.)                                    (See 28 U.S.C. § 1408.)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy
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Debtor 1       Nickie                              Gregoriou                                    Case number (it k m n )
              Firat N a m   MUdk N m             Last Name




            Tell the Court About Your Bankruptcy Case


7.    The chapter of the               Check one. (For a brief description of each, see Notice Required by 7 1 U. S. C. 5 342(b) for Individuals Filing
      Bankruptcy Code you              for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file             DChapter 7
      under
                                           Chapter 11
                                           Chapter I 2
                                       0 Chapter 13

8.    How you will pay the fee         UIwill pay the entire fee when Iflle my petition. Please check with the clerk's office in your
                                          local court for more details about how you may pay. Typically, if you are paying the fee
                                          yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                          submitting your payment on your behalf, your attorney may pay with a credit card or check
                                          with a pre-printed address.

                                       0 I need t o pay the fee in installments. If you choose this option, sign and attach the
                                           Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           Irequest that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                           By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                           less than 150% of the official poverty line that applies to your family size and you are unable to
                                           pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                           Chapter 7 Filing Fee Wa~ved(Official Form 103B)and file it with your petition.


9.    Have you filed for               UNO
      bankruptcy within the
      last 8 years?                    0 Yes. District                                 When                         Case number
                                                                                               MMI DDIYYYY
                                                 District                              When                         Case number
                                                                                               MM IDD IYYYY
                                                 District                              When                         Case number
                                                                                               M M I DDIWYY



10.   Are any bankruptcy
      cases pending or being
                                       ~   NO

      filed by a spouse who is            Yes. Debtor                                                               Relationship to you
      not filing this case with                  District                              When                         Case number, if known
      you, or by a business                                                                    MM IDD 1 YYYY
      partner, or by an
      affiliate?
                                                 Debtor                                                             Relationsh~pto you
                                                 District                              When                         Case number, if known
                                                                                               MMIDDIYYYY


11.   Do you rent your                 MNO.   Go to line 12.
      residence?                       Q Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                residence?
                                                 0   No. Go to line 12.
                                                a Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)and file it with
                                                     this bankruptcy petition.



Official Form 101                               Voluntary Peutlon for Individuals Filing for Bankruptcy
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Debtor           Nickie                                     Gregoriou                                      Case number ( i f w n )
                F i Name          Middle Name             la3l Nama




              Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 M NGO
                                                   ~ to. Part 4.
      of any full- or part-time
      business?                                 0 Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         -~-

                                                         Name of business. i f any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or
                                                         Number        Street
      LLC.
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                          City                                                      State            ZIP Code


                                                         Check the appropriate box to describe your business:
                                                         0   Health Care Business (as defined in 11 U.S.C. 3 lOl(27A))
                                                         0 Single Asset Real Estate (as defined in 11 U.S.C. § lOl(518))
                                                         0 Stockbroker (as defined in 11 U.S.C. 3 lOl(53A))
                                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         a None of the above
13.   Are you filing under                      If you are filing under Chapter I I, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      ~           ~Code and~                    most recent
                                                       k       balance
                                                                     ~ sheet, Statement
                                                                                   ~     of operations,
                                                                                                ~       cash-flow
                                                                                                              t statement,
                                                                                                                         ~ and federal~ income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. $ 1116(1)(B).
      are you a small business
      debtor?
                                                 NO.     I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                      0 No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. 3 lOl(51D).                              the Bankruptcy Code.

                                                0 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   DOyou own or have any                     m~~
      property that poses or is
      alleged to pose a threat                  0 Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                                 If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the properly?
                                                                                     Number       Street




                                                                                     City                                               State    ZIP Code

Official Form 101                                        Voluntary Petition for individuals Filing for Bankruptcy                                      page 4
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                                                       Gregoriou                                     Case number (aknown)
Debtor 1        Nickie
               F i i Name    Mlddls Name             LIU1 Name




             Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumerdebtsare defined in 11 U.S.C. 9 101(8)
16.   What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose."
      you have?
                                                0 No. Go to line 16b.
                                                I
                                                I(Yes. Go to line 17.
                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                0 No. Go to line 16c.
                                                0 Yes. Go to line 17.
                                           16c. State the type of debts you owe that are not consumer debts or business debts.



I?.   Are you filing under
      Chapter 77                  0 No. I am not filing under Chapter 7. Go to line 18.
      DO you estimate that after a y e s . I am filing under Chapter 7. DOyou estimate that after any exempt property is excluded and
                                           administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                       . - is
      anv exempt ~roaertv
      excluded and                         Ck NO
      administrative expenses
      are paid that funds will be          C1 Yes
      available for distribution
      to unsecured creditors?
18.   HOWmany creditors do                 a 1-49                                                                            0 25,001-50,000
      you estimate that you                0 50-99                                                                                  50,001-100,000
      owe?                                 5 100-199                                                                         0 More than 100.000
                                           0 200-999                                                                    -      --

i s . How much do you                      0 $0-$50,000                              a S1,000,001-$10million                 ~$500,000,001-$1billion
                                                                                     0 $10,000,001-$50 million               0 $1,000,000,001-$10 billion
      be worth?                                                                         $50,000,001-$100 million             a $10,000,000,001-$50 billion
                                              $500,001-$1 million                    0 $100.000,001-$500 million             0 More than $50 billion
20.   How much do you                      0 $0-S50,OOO                              0 51,000.001$10 million                 ~$500,000,001-$1billion
      estimate your liabilities            0 $50,001-$100,000                        0 S10,000,001-$50 million               0 $1,000,000,001-$10 billion
      to be?                               d$100,001-$500,000                        a S50,000,001-$100million               0 $10,000,000,001-$50 billion
                                           0 $500.001-$1 million                        $100,000,001-$500 million            a More than S50 billion
             Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7. 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document. I have obtained and read the notice required by 11 U.S.C. 3 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. 55 152; 1341,15i19, and3571.



                                           q.&&&
                                              Si nature of Deb or

                                              Executed on
                                                                                          -.

                                                                                                              ~ignafureof debtor 2

                                                                                                              Executed on
                                                                 MM   I OD I Y W Y                                          MM I DD       lW   Y


Official Form 101                                    Voluntary Petition for Individuals Flllng for Bankruptcy                                        Dage 6
             Case 16-27568                  Doc 1             Filed 08/27/16 Entered 08/27/16 13:30:57                                Desc Main
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Debtor I       Nickie                               Gregoriou                                      Case number (tknaun)
              FlPU Name   MiddleN a s             Last NPmO




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11. 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by IIU.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry thatpe infomlation in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.                 %                                                                   Date
                                           Ggnature of Attorney for b d o r                                               MM     I   OD   l   W



                                              Martin Y. Joseph
                                           Printed name


                                           Firm name

                                               221 N. LaSalle Ste 1906
                                           Number      Street



                                               Chicago                                                        IL.                60601
                                           Cify                                                            State          ZIP Code




                                               1369563                                                      Illinois
                                           Bar number                                                      State




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy
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(Spouse. if filing) Fim Name                    Middle Nane                   Larl Name

United States Bankruptcy court for the:            Northem                     Distfict of   Illinois


                                                                                                                                                0 Check if this is an
                                                                                                                                                    amended filing

Official Form 106AlB
Schedule AIB: Property                                                                                                                                          12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    a No. Go to Part 2.
    [81 Yes. Where is the property'?
                                                                         What is the property? Check all that apply        Do not deduct secured claims or exemptions. Put
                                                                             Single-family home                            the amount of any secured claims on Schedule 0:
      1 1.    8925 N. Oriole                                             0   Duplex or multi-unit building                 Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description
                                                                             Condominium or cooperative                    Current value of the     Current value of the
                                                                         0 Manufactured or mobile home                     entire property?         portion you own?
                                                                         a Land                                            $   220.000.00           $   220,000.00
                                                                         a Investment property
              Morton Grove                   IL.              'OoS3      a Timeshare                                       Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
             CltY                            State      ZIP Code
                                                                         a Other                                           the entireties, or a life estate), if known.
                                                                         Who has an interest in the property? Check one.
                                                                                                                           Fee Simple
                                                                             Debtor 1 only
              Cook
                                                                         0 Debtor 2 only
             County
                                                                         a Debtor 1 and Debtor 2 only                      a Check if this is community property
                                                                         a At least one of the debtors and another             (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:
    If you own or have more than one, list here:
                                                                        What is the property? Check all that apply.        Do not deduct secured Claims or exemptions. Put
                                                                        a Single-family home                               the amount of any secured claims on Schedule D:
                                                                                                                           Creditors Who Have Claims Secured by Property.
      1.2.
             Street address, if available, or other description
                                                                        0 Duplex or multi-unit building
                                                                        a Condominium or cooperative                       Current value of the     Current value of the
                                                                            Manufacturedor mobile home                     entire property?         portion you own?
                                                                        0 Land                                             $                        $
                                                                        D   Investment property

             city                            State      ZIP Code
                                                                        a Timeshare                                        Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                        0 Other                                            the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one.
                                                                        0 Debtor 1 only
             County                                                         Debtor 2 only
                                                                        0 Debtor 1 and Debtor 2 only                       a Check if this is community property
                                                                        a At least one of the debtors and another              (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


   Official Form 106NB                                                  Schedule AIB: Property
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                    Nickie                              Gregoriou
                  F m i Name    Middle Nane            Last Name
                                                                 Document     Page 8 of 30

                                                                   What is the property? Check all that apply                     Do not deduct secured clalms or exemptions. Put

     13
                                                                   a Stngle-fam~lyhome                                            the amount of any secured claims on Schedule D
                                                                                                                                  Cmd~torsWho Have Claims Secured by Property.
           Street address. ~favailable, or other description       0 Duplex or mulh-unft building
                                                                   a Condominium or cooperat~e                                    Current value of the
                                                                                                                                  entire property?
                                                                                                                                                              Current value of the
                                                                                                                                                              portion you own?
                                                                   C] Manufacturedor rnob~lehome
                                                                   a Land
                                                                   C] Investmentproperty
           CltY                           State     ZIP Code       a Tfmeshare                                                     Describe the nature of your ownership
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                   a Other                                                         the entireties, or a life estate), if known.
                                                                   Who has an interest i n the property? Check one.
                                                                   0Debtor 1 only
           County
                                                                   a Debtor 2 only
                                                                   a Debtor 1 and Debtor 2 only                                   0 Check if this i s community property
                                                                                                                                        (see ~nstructions)
                                                                   C]At least one of the debtors and another
                                                                   Other information you wish t o add about this item, such as local
                                                                   property identification number.


2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                Write that number here. ............. ... .............
    you have attached for Part I.                                                              ................. .....   ............. ....... ............




Do you own, lease, or have legal or equitable interest i n any vehicles, whether they are registered or not? Include any vehlcles
you own that someone else drives If you lease a vehlcle, also report it on Schedule G Executory Contracts and Unexp~redLeases

3   Can, vans, trucks, tractors, sport utility vehicles, motorcycles
    C1 No
    O Yes
    3.1.   Make:                                                        has an            in the p r o p e w Check One             D, not deduct secured clams or exernptlons   Put
                                                                                                                                   the amount of any secured cla~mson Schedule D
           Model:                                                  0 Debtor 1 only                                                 Cred~torsWho Have Claims Secured by Properly
           .Year.
             .                                                     a Debtor 2 only
                                                                   a Debtor 1 and Debtor 2 only                                    Current value of the       Current value of the
           Approxlmate mileage,                                    aAt least one of the debtors and another                        entire property?           portion you own?

           Other ~nformation:
                                                                   C]Check if this is community property (see                     $                           $
                                                                      ~nstruct~ons)



    If you own or have more than one, describe here

    3 2.   Make.                                                        has an interest in the properL'?                 One      D, not deduct secured clams or exernptlons Put
                                                                   C] Debtor ? only                                               the amount of any secured cla~mson Schedule D
           Model.                                                                                                                 Cred,tors Who Have Clatms Secu& by Properly
                                                                      Debtor -
                                                                             2 onlv
           Year                                                                                                                   Current value of the        Current value o f the
                                                                      Debtor 1 and Debtor 2 only
           Approxlmate mlleage.                                                                                                   entire property?            portion you own?
                                                                      At least one of the debtors and another
           Other informahon.
                                                                   C]Check if this is community property (see                     $                           $
                                                                      Instruct~ons)




Offic~alForm 106AIB                                                Schedule AIB: Property
             Case 16-27568                    Doc 1       Filed 08/27/16 Entered 08/27/16 13:30:57                         Desc Main
                                                  Gregoriou
Debtor 1
                  m
               F~SI
                   Nickie
                       e        Middle Nane       Last Namc
                                                            Document     Page 9 ofCase
                                                                                   30 number (dlmavn)


                                                         Who has an interest i n the property? Check one.   D, not deduct secured claims or exemptions. Put
   3.3.    Make:
                                                                                                            the amount of any secured claims on Schedule 0:
           Model:
                                                         0 Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
                                                         0 Debtor 2 only
           Year:                                                                                            Current value o f the     Current value of the
                                                         0 Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Approximate mileage:                               At least one of the debtors and another
           Other information:
                                                                                                            $                         $
                                                         0Check i f this i s community property (see
                                                              instructions)

                                                         Who has an interest i n the property? Check one    DO not deduct secured claims or exernptlons. put
   3.4.    Make:
                                                                                                            the amount of any secured claims on Schedule D:
           Model:
                                                         0 Debtor Ionly                                     Creditors Who Have Claims Secured by Property.
                                                         0 Debtor 2 only
           Year:                                                                                            Current value of the      Current value of the
                                                         0 Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Approximate mileage:                          0 At least one of the debtors and another
           Other information:
                                                                                                            $                         $
                                                          P Check if this is community property (see
                                                              instructions)




4. Watercraft, aircraft, motor h o m e , ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   0 No
   0 Yes
                                                         Who has an interest in the property? Check one     DO not deduct secured claims or exemptions. Put
   4.1.    Make:
                                                                                                            the amount of any secured claims on Schedule D:
           Model:
                                                         0 Debtor 1 only                                    Cred~torsWho Have Claims Secured by Property.
                                                         0 Debtor 2 only
           Year:
                                                         [IIDebtor 1 and Debtor 2 only                      Current value of the      Current value of the
           Other information:                            [IIAt least one of the debtors and another         entire property?          portion you own?

                                                              Check if this   is community property (see    $                         $
                                                              instructions)



   If you own or have more than one, list here:

   4.2.    Make:                                         Who has an interest i n the property? Check one.   DO not deduct secured daims or exemptions. Put
                                                                                                            the amount of any secured daims on Schedule 0.
           Model:                                        0
                                                         - Debtor 1 only                                    Creditors Who Have Claims Secured by Property,
                                                              Oebtor 2 only
           Year:                                                                                            Current value of the      Current value of the
                                                         0 Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                            0 At least one of the debtors and another
                                                          0Check i f this is community property (see        $                         $
                                                              instructions)




5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  you have attached for Part 2. Write that number here                                                                         *


Official Form 106NB                                       Schedule AIB: Property
                  Case 16-27568                               Doc 1               Filed 08/27/16 Entered 08/27/16 13:30:57                                                                      Desc Main
Debtor I                Nickie                                              Gregoriou
                                                                                    Document               30number ( d w n )
                                                                                                Page 10 ofCase
                      F m N&ne              M    e Hane                   Lasl Name




                 Descrlbe Your Personal and Household Items
                                                                                                                                                                                                  Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                 portion you own?
                                                                                                                                                                                                  Do not deduct secured daims
                                                                                                                                                                                                  or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     0 No
     a Yes. Describe. ........               Furniture and China

7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras, media players, games
     0 No
     a Yes. Describe..........                     set


8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     0 No
     0 Yes. Describe. .........
9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment bicycles, pool tables. golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
     0 No
     0 Yes. Describe. .........
lo. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     0 No
     0 Yes. Describe. .........
11.Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     0 No
     a  Yes. Describe. ......... Everyday Clothes


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
               gold, silver
     0 No
     0 Yes. Describe........
13. Non-farm animals
     Examples: Dogs, cats, birds, horses
     0 No
     0 Yes. Describe..........
I&   Any other personal and household items you did not already list, including any health aids you did not list

     0 No
     0 Yes. Give specific
           information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ......................................................................................................................................................



 Official Form 106NB                                                                       Schedule AIB: Property
                  Case 16-27568                                     Doc 1                   Filed 08/27/16                              Entered 08/27/16 13:30:57                                         Desc Main
Debtor 1                Nickie                                                     Gregoriou
                                                                                         Document                                      Page 11 ofCase
                                                                                                                                                   30number (8-n)
                      FntNsme                  MadlsName                         la$!Name




Part 4:         Describe Your Financial Assets

                                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest i n any of the following?                                                                                                                                   portion you own?
                                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                                               or exemptions.

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   O     No
   a yes ...................................................................................................................................................................   Cash: .......................    $   1.100.00



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit, shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   O No
   Dl yes .....................                                                                       Institutionname:


                                                 17.1.Checking account:                                 Citibank

                                                 17.2. Checking account:

                                                 17.3. Savings account:

                                                 17.4. Savings account:

                                                 17.5. Certificates of deposit

                                                 17.6.   Other financial account:

                                                 17.7. Other financial account

                                                 17.8.Other financial account:

                                                 17.9. Other financial account




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   O      No
   0 yes ..................                      Institutionor issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   0 No                                          Name of entity:                                                                                                               % of ownership:
   a Yes. Give specific                          Pandorams Gifts                                                                                                                 100              %
         information about
         them. ........................                                                                                                                                                           %




                                                                                                     Schedule A/B: Property
                  Case
                   Nickie
                         16-27568                      Doc 1Gregoriou
                                                                Filed 08/27/16 Entered 08/27/16 13:30:57                        Desc Main
Debtor 1                                                                               Case number ( d m )
                    First Name         M m Name           LaYNane Document    Page 12 of 30


20 Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   R    No
   0 Yes. Give specific                Issuer name:
        information about
        them. ......................                                                                                              $




21. Retirement or pension accounts
   Examples: Interests in IRA. ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-shanng plans
   0 No
        Yes. List each
        account separately.. Type of account                     Institutionname:

                                       401(k) or similar plan:    Mmpo'itan Life

                                       Pension plan:

                                       IRA:                                                                                       $

                                       Retirement account:                                                                        3
                                       Keogh:                                                                                     $

                                       Additional account:                                                                        $

                                       Additional account:                                                                        $



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   R    No
   0 yes ........................                            lnstitution name or individual:
                                       Electric;
                                       Gas:
                                       Heating oil;                                                                               $
                                       Security deposit on rental unit                                                            $
                                       Prepaid rent:
                                                                                                                                  $
                                       Telephone:
                                                                                                                                  $
                                       Water:
                                       Rented furniture:
                                                                                                                                  $




23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   0 No
   P Yes ...........................   Issuer name and description:




Official Form 106NB                                                      Schedule N B : Property
              Case 16-27568                      Doc 1        Filed 08/27/16 Entered 08/27/16 13:30:57                              Desc Main
                   Nickie                                Gregoriou
Debtor I
                 F-   M   e       M a l e Name         Laat Name
                                                                 Document   Page 13 ofCase
                                                                                       30number (rMaYn)

24   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program
     26 U S C §§ 530(b)(l). 529A(b), and 529(b)(1)
     O   No
     0 Yes                                lnstrtutron name and descnptron Separately file the records of any Interests 11 U S C   5 521(c)




25 Trusts, equitable or future interests in property (other than anything listed in line I),
                                                                                           and rights or powers
     exercisable for your benefit
     R   No
         Yes Give specific
         tnformation about them


26 Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples lntemet domain names, websites, proceeds from royaltres and licensing agreements
     0 No
     0 Yes    G~vespec~fic
         ~nformationabout them


27 Licenses, franchises, and other general intangibles
     Examples Bu~ldlngpermits, excluscve Iccenses, cooperatcve assoctation hold~ngs,Irquor Ilcenses, professional l~censes

     0 No
     a Yes Give specific
         inforrnat~onabout them


Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemphons

28 Tax refunds owed to you

     R   No
         Yes Give specific rnforrnatron                                                                            Federal
             about them, including whether
             you already filed the returns                                                                         State'
             and the tax years. ....................
                                                                                                                   Local


29 Family support
     Examples Past due or lump sum alimony, spousal support, chrld support, maintenance, divorce settlement, property settlement
     a No
     0 Yes     Give specific lnformat~on
                                                                                                                  Alimony:                   S
                                                                                                                  Maintenance:               $
                                                                                                                  support:                   $
                                                                                                                  Divorce settlement         S
                                                                                                                  Property settlement:       $

30 Other amounts someone owes you
   Examples Unpa~dwages, d~sabllityinsurance payments, drsability benefits, sick pay, vacation pay, workers' compensatron,
            Social Secunty benefits, unpaid loans you made to someone else
     0 No
     a Yes Glve specific ~nformation

Offic~alForm 106NB                                               Schedule AIB: Property
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                         Nickie                                               Gregoriou
Debtor I
                       Rrsl Name             Middle Name                    LanName
                                                                                    Document     Page 14 of 30


31. Interests in insurance policies
     Examples: Health, disability, or l~fe
                                         insurance; health savlngs account (HSA); cred~t,homeowner's, or renter's insurance
     a No
     0 Yes. Name the insurance company                                    Comwny name:                                                                    Beneficiary:                         Surrender or refund value:
                   of each policy and list its value. ..




32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
     property because someone has died.
     0 No
     0 Yes. Give specific information. .............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes. insurance claims, or rights to sue
     0 No
     a Yes. Describe each claim. .....................                     Contract and Fraud Judgment against Mario Pappas and & Ellis TV inc.for $148,704.00plus interest and costs C ook
                                                                           County case #2011CH-00031                                                          s unknown
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims
     a No
     II) Yes. Describe each claim......................



35.Any financial assets you did not already list
     m     No
     0 Yes. Give specific information............

36.Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ...................................................................................................................................................




                    Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. DOyou         own or have any legal or equitable interest in any business-related property?
     a No. Go to Part 6.
     0 Yes. Go to line 38.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.
38 Accounts receivable or commissions you already earned
     O No
     0 Yes. Describe.......

39. Office equipment, furnishings, and supplies
     Examples: Business-relatedcomputers, software, modems. printers. copiers, fax machines, rugs, telephones, desks, chairs. electronic devices
     O     No
     a Yes. Describe .......

 Official Form 106AIB                                                                        Schedule AIB: Property
                  Case   16-27568
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                                                              Doc 1Gregoriou
                                                                      Filed 08/27/16 Entered 08/27/16       13:30:57
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Debtor 1
                       F LPIame
                            ~                MlWie Nxne                    La9




40   Machinergr, fixtures, equlpment, supplies you use in business, and tools of your trade

      O    No
      C1 Yes. Descr~be                 .



41. Inventory
      a No
      0 Yes. Descnbe .......

42 Interests in partnerships or joint ventures
      a No
      a Yes. Descnbe                 ..      Name ofentlty:                                                                                                                  % of ownershtp:




43 Customer lists, mailing lists, or other compilations
      0 No
      [;I Yes. Do your lists include personally identifiable information (as defined in 11 U S.C § 101(41A))?
                    0 No
                    0 Yes         Descrlbe



44    Any business-related property you did not already list
      0 No
      0 Yes. Give specific
         information .........




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
      for Part 5. Write that number here ........................................................................................................................................................



Part 6:

                 I  Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                    If you own or have an interest in farmland, list it in Part 1 .


46 Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      a NO. GO to Part 7.
           Yes. Go to line 47.

                                                                                                                                                                                                      Current value of the
                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                      or exemptions.
47.   Farm animals
      Examples: Livestock, poultry, farm-raised fish
      O    No
           yes ...........................




 Official Form 106AIB                                                                       Schedule AIB: Property                                                                                                 oage 9
                   Case 16-27568                               Doc 1               Filed 08/27/16                         Entered 08/27/16 13:30:57                                              Desc Main
Debtor I               Nickie                                              Gregoriou
                                                                                  Document                               Page 16 of 30number (rrmaun)
                                                                                                                                  Case
                     Fvsi tiam             MWName                        ~aslNamc



48. Crops-either growing or hawested

    a No
    0 Yes. Give specific
          information.............

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    a No
    0 yes ...........................

50. Farm and fishing supplies, chemicals, and feed

    0 No
    P yes ..........................

5i.Any farm- and commercial fishing-related property you did not already list
     R    No
     0 Yes. Give specific
          information............

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here .......................................................................................................................................................   *   $ 0.00
                                                                                                                                                                                                                           I
Part 7 :
                EBescribe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     [iP No
     a Yes. Give specific
          information.............




54. Add the dollar value of all of your entries from Part 7. Write that number here ..............................................................                                                     $ 0.00




                  List the Totals of Each Part of this Fonn

55. Part 1: Total real estate, line 2..........................................................

56. Part 2:     Total vehicles, line 5

57. Part 3: Total personal and household items, line 15

58. Part 4: Total financial assets, line 36


59. Part 5: Total business-related property, line 45

60. Part 6: Total farm- and fishing-related property, line 52

61. Part 7: Total other property not listed, line 54


62. Total personal property. Add lines 56 through 61. ...................                                         $5.100.00
                                                                                                                          copy personal property total                                           + +$ 5,100.00
63.Total of all property on Schedule AIB. Add line 55 + line 62......................................................................................



 Official Form 106,416                                                                   Schedule AIB: Property                                                                                                  page 10
                Case 16-27568                  Doc 1          Filed 08/27/16 Entered 08/27/16 13:30:57                                  Desc Main
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                    Nickie                                                Gregoriou
 Debtor 1
                  F!m Name                     Mlddle Name               L B Name
                                                                             ~

 Debtor 2
 (Spouse. if filing) FIN Nms                    Middle Nane              ~ a sName
                                                                              l

                                                                                 of Ulinois
 United States Bankruptcy Court for the:
                                                                                     (State)
 Case number                                                                                                                                 0 Check if this is an
  (If known)
                                                                                                                                                 amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt
Be as complete and accurate as possible. If two married people are filing together, both are equally responsiblefor supplying correct information.
Using the property you listed on Schedule A B : Property (Official Form 106NB) as your source, list the properly that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions--such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds--may be unlimited in dollar amount. However, i f you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      a You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A A

      Brief                                                                                                                       735-5112-901
      description:             Sinale Familv House            $ 220,000.00                O$
      Line from                                                                           a 100% of far market value, up to
      Schedule A5:              1.1                                                            any applicable statutory limit

      Brief
      description:
                               Furniture                      $ 300.00                    CIS                                     735-5112-1001(b)

      Line from                6                                                          a 100% of fair market value, up to
      Schedule ,443:      -                                                                    any applicable statutory limit

     Brief
     description:              TV                             $ 300.00                   a$                                       735-5112-100l(b)

     Line from                                                                                 100% of fair market value, up to
     Schedule A , :       7                                                                    any applicable statutory limit

 3   Are you claiming a homestead exemption of more than $155,675?
     (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment )
     5    No
     0 Yes      Did you acqulre the property covered by the exemptionwithin 1,215 days before you filed th~scase?
          IXI   No
          0     Yes


Official Form 106C                                            Schedule C: The Property You Claim as Exempt
            Case 16-27568                Doc 1        Filed 08/27/16          Entered 08/27/16 13:30:57                    Desc Main
Debtor 1      Nickie                                     Document
                                                   Gregoriou                 Page 18 ofCase
                                                                                         30number (nxnavn]
             Fm Ninv         Mddk Name         LwtNane




             Additional Page

      Brief description of the property and line      Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule N B that lists this property        portion you own
                                                      Copy the value from    Check only one box for each exemption
                                                      Schedule A/B
                                                                                                                     735-5112-1001(a)
     Brief
     description:
                       Clothes                        $   300.00             a$
     Line from          11                                                   aany
                                                                              100% of fair market value, up to
                                                                                  applicable statutory limit
     Schedule A/B:
     Bnef              Cash                           $   1100.00            0 s                                     735-5112-1001(b)
     description:
     Line from                                                               [;t 100% of fair market value, up to
     Schedule A/B:
                       16
                       -                                                         any applicable statutory limit


     Brief                                                                                                           735-5112-1001(b)
     description:
                       CheckingAccount                $   100.00             0 s
     Line from
                                                                             l;): 100% of fair market value, up to
                        17                                                      any applicable statutory limit
     Schedule A/?3:    -
     Brief                                                                                                           735-5112-lOOl(b),735-5h2-1001(b)
     description:      Stock                          s   200.00             a$
     L~nefrom           19                                                   a 100% of fair market value, up to
     Schedule AfB:                                                              any applicable statutory limit

     Brief                                                                                                           735-5112-lOOl(b),735-5112-1001(b)
     description.
                       Judgment                       $ unknown              O$
     Line from
                       33
                                                                             a 100% of fair market value, up to
     Schedule AfB:     -                                                        any applicable statutory limit


     Brief
     descnption:
                       IRA                            $   3000.00            Q$                                      735-5112-1001tb).735-5/12-1006
     Line from          21                                                   a 100% of fair market value, up to
     Schedule ,443:    -                                                        any applicable statutory limit

     Brief
     description:                                     S                      0 s
     Line from                                                               q 100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:                                     $                      a$
     Line from                                                               0 100% of fair market value, up to
     Schedule AB:      -                                                        any applicable statutory limit


     Brief
     descrtption:                                     $                      a$
     Line from                                                               0100% of fair market value, up to
     Schedule AB:      -                                                        any applicable statutory limit

     Bnef
     description:                                     $                      0%
     Line from                                                               0100% of fair market value, up to
     Schedule A/B:                                                              any applicable statutory limit
     Brief
     description:                                     $                      0s
     Line from                                                               0 100% of fair market value, up to
     Schedule AfB:     -
                       11                                                       any applicable statutory limit

     Brief
     description:
     Line from                                                               0 100% of fair market value, up to
     Schedule AB:      -                                                        any applicable statutory limit


 Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                    page   2of 2
                         Case 16-27568                    Doc 1           Filed 08/27/16 Entered 08/27/16 13:30:57                                          Desc Main
                                                                           Document     Page 19 of 30
     Fill in this information to iderltify your case:                                         I
     Debtor I              Niche                                                       Gregoriou
                          F    ~ mI   e                   Udde Name                   LBSI   ~ame



I    Debtor 2
     (Spouse,lf tillng) Flrat Name                        Middle Name                 La9 Name
                                                                                                                 I
     United States Bankruptcy Court for the: Northern

     Case number
         l l f known)
                                                                                       District of Illinois
                                                                                                    (State)
                                                                                                                  I                                             0 Check if this is an
                                                                                                                                                                   amended filing


     Official Form 106D
     Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it t o this form. On the top of any
     additional pages, write your name and case number (If known).

    I.      Do any creditors have claims secured by your property?
            a  No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form
               Yes. Fill in all of the information below.

                        List All Secured Claims
                                                                                                                 Cdumn A                                Column 5         Column C
    2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately ~~~~~t df                               valueof collateral
                                                                                                                                                                         unsecured
           for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. D, notdmct the                         that supPo* this wrtbn
           As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.                   claim            If any

               Citimortgage                                         Describe the property that secures the claim:                 $96793.00             $   220.000.00     S
             Creditor's Name
                                                                    8925 N. Oriole Morton Grove, IJ.,
               P.O.Box 9438
             Number            Strwt
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   0 Contingent
               Gaitherburg                 MD       20898             Unliquidated
            City                          State   ZIP Code         Q ~        ~     ~        ~      ~      e     d
          Who owes the debt? Check one.                             Nature of lien. Check all that apply
          a     Debtor Ionly                                        a An agreement you made (such as mortgage or secured
          a     Debtor 2 only                                         car loan)
                                                                    n Statutory lien (such as tax lien, mechanic's lien)
          0     Debtor 1 and Debtor 2 only
          O     ~t least one of the debtors and another             P Judgment lien from a lawsuit
                                                                    0 Other (including a right to offset)
             Check if this claim relates to a
             community debt
          Date debt was incurred                                    Last 4 digits of account number

               ~ ~ ~ ~ympic
                     f . 1 M~~
                           1   G~~~Tmt                     seriesp s c r i b e the property that secures the claim:               $    120,000.00       $   220,000.00     S
             Credltofs Name
                                                                    8925 N. Oriole Morton Grove, IL
               C/o Quarles & Brady
             Number           street
                                                                   As of the date you file, the claim is: Check all that apply.
               300 N.LaSalle Suite 4000
                                                                   0 Contingent
               Chicago,                    U.       60654          0 Unliqu~dated
            cob                           State   ZIP Code         0 ~~i ,,t~d
         Who owes the debt? Check one.                              Nature of lien. Check a(l that apply
          (56 Debtor 1 only                                             An agreement you made (such as mortgage or secured
          0 Debtor 2 only                                               car loan)
          0 Debtor 1and Debtor 2 only                                   Statutory !len (such as tax Iten, mechanc's hen)
          0 At least one of the debtors and another                 0 Judgment lien from a lawsuit
          0  Check if this claim relates to a
                                                                    a   Other (includinga r~ghtto offset)
             community debt
          Date debt was incurred                                   Last 4 digits of account number                                           -
             Add the dollar value of your entries i n Column A on this page. Write that number here:                              IS   216.793.00   1
          Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of   1
                          Case 16-27568                    Doc 1            Filed 08/27/16 Entered
                                                                                                I
                                                                                                   08/27/16 13:30:57                           Desc Main
IFill in this information to identify your case:

                                 Nickie
                                                                             Document     Page 20 of 30
                                                                                        Gregoriou
 Debtor I
                               F ~ f fMi     e            ~ l d e l eName            Lasi Name

    Debtor 2
 (Spouse        lf   fillng)   ~ l f f~i a   ma           Mlddle m e                 Las Name


    Un~tedStates Bankruptcy Court for the
                                                               Northern               D~strictof       'Iinois
                                                                                                   (State)
                                                                                                                                                   0 Check if this is an
    Case number                                                                                                                                       amended filing
     (If knavn)



Official Form 106ElF
Schedule UF: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRlORlN claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/& Property (Official Form 106AIB) and on Schedule G: Execufory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed i n Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you nead, fill it out, number the entries i n the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1:                List All of Your PRiORlTY Unsecured Claims

1.     Do any creditors have priority unsecured claims against you?
       G NO. GOto Part 2.
       0 Yes.
2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
       each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
       nonpriority amounts, As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
       unsecured claims, fill out the Continuation Page of Part I.     If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim       Priority         Nonpriority
                                                                                                                                              amount          amount

                                                                             Last 4 digits of account number                      _
         Priority Creditor's Name
                                                                             When was the debt incurred?
         Number                     Street

                                                                             As of the date you file, the claim is: Check all that apply

         City                                     State    ZIP Code
                                                                             0   Contingent
                                                                             0   Unliquidated
         Who incurred the debt? Check one.
                                                                             0   Disputed
         0 Debtor 1 only
         0 Debtor 2 only                                                     Type of PRIORITY unsecured clairn:
         0 Debtor 1 and Debtor 2 only                                        0 Domestic support obligations
         0 At least one of the debtors and another                           0 Taxes and certain other debts you owe the government
         0 Check if this claim is for a community debt                           Claims for death or personal injury while you were
         Is the claim subject to offset?                                         intoxicated
         0 NO                                                                    Other. Specify



-        R Yes

         Priority Creditois Name
                                                                             Last 4 digits of account number
                                                                             When was the debt incurred?
                                                                                                                                           s   S            S


         Number                     Street
                                                                             As of the date you file, the claim is: Check all that apply
                                                                             0   Contingent
         City                                     State    ZIP Code          0   Unliquidated
         Who incurred the debt? Check one.                                   0   Disputed
                Debtor 1only
                                                                             Type of PRIORITY unsecured claim:
         0 Debtor 2 only
         P Debtor 1 and Debtor2 only                                         0 Domestic support obligations
                At least one of the debtors and another                      0 Taxes and certain other debts you owe the government
         0 Check if this claim is for a community debt                       0 Claims for death or personal injury while you were
                                                                                 intoxicated
         Is the claim subject to offset?                                     0   Other. Specify
         P NO
         0 Yes

OffEdal Form 106UF
                     Case 16-27568                  Doc 1        Filed 08/27/16 Entered 08/27/16 13:30:57                                  Desc Main
                         Nickie                          Gregoriou                     Case number ( r m )
 Debtor 1
                     Fm Nane         lrhddtC Name       LasrNsme
                                                                  Document     Page 21 of 30
                    List All of Your NONPRlORlTY Unsecured Claims

 3.   Do any creditors have nonpriority unsecured claims against you?
      0 No. You have nothing to report in this part. Submlt this form to the court with your other schedules.
      t2Yes
 4.   List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.
                                                                                                                                                         Total claim

1.1 1
 I          Discover Bank                                                        I nst 4 diaits of ;
                                                                                                                                                             6.748.00

            P.O.Box 15316                                                        When was the d
                -    -


        Number             Street
            Wilmington                                 DE.           19850
        city                                         state      ZIP Coda         As of the date you file, the claim is: Check all that apply.
                                                                                 0 Contingent
        Who incurred the debt? Check one.                                            Unliquidated
        dC Debtor 1only                                                          Q Disputed
        a Debtor 2 only
        0 Debtor 1and Debtor 2 onlv                                              Type of NONPRlORlTY unsecured claim:
        0 At least one of the debtors and another                                0 Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
        0 Check if this claim is for a community debt                                that vou did not report as vrioritv
                                                                                                                .      .c I ~ ~ s
        Is the claim subject to offset?                                          P   Debts to pension or profit-sharing plans, and other similar debts
        GY     NO                                                                a Other. Specify                Card
        0 Yes

            BankofAmerica                                                        Last 4 digits of account number
        Nonpriority Creditois Name                                               When was the debt incurred?

            P.O. Box 982238
        Number             Street
            El Paso                                    'IX           79998       As of the date you file, the claim is: Check all that apply.
        City                                          state     ZIP Code         Q   Contingent

        Who incurred the debt? Check one.                                            Unliquidated
        a Debtor 1 only                                                          a Disputed
        0 ~ & t o r2 only
                                                                                 Type of NONPRIORITY unsecured claim:
        0 Debtor 1and Debtor 2 only
        0 At least one of the debtors and another                                a Student loans
                                                                                 0 Obligations arising out of a separation agreement or divorce
        0 Check if this claim is for a community debt                               that you did not report as priority claims
        Is the claim subject to offset?                                             Debts to pension or profit-sharing plans, and other similar debts
        CX NO                                                                    [B Other. Specify       Credit Card
        0 Yes




               El Segundo                               CA.                      As of the date you file, the claim is: Check all that apply.
        City                                          State     ZIP Code

        Who incurred the debt? Check one
                                                                                 0 Contingent
        n Debtor ionly                                                           a Unliquidated
                                                                                 0 Disputed
          Debtor 2 onty
        a Debtor 1and Debtor 2 only                                              Type of NONPRlORlTY unsecured claim:
        0 At least one of the debtors and another
                                                                                     Student loans
        0 Check if this clalm is for a community debt                                Obligatmns arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
        Is the claim subject to offset?
                                                                                 P   Debts to pension or profrt-sharing plans, and other similar debts
        Q No
        O Yes
                                                                                 a   Other. Specify       TV service
Debtor I
             Case
              Nickit16-27568               Doc 1Gregoriou
                                                      Filed 08/27/16 Entered Case
                                                                             08/27/16     13:30:57
                                                                                  number (#mi                           Desc Main
               Fm Nane       MNane            Las Name Document     Page 22 of 30
Part 4:     Add the Amounts for Each Type of Unsecured Claim


6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C.   5 159.
     Add the amounts for each type of unsecured claim.




                                                                                   Total claim


                6a. Domestic support obligations
Total claims
from Part 1
                6b. Taxes and certain other debts you owe the
                    government

                6c. Claims for death or personal injury while you were
                    intoxicated                                             6c.                  0.00

                6d. Other. Add all other priority unsecuredclaims.
                    Write that amount here.



                6e. Total. Add lines 6a through 6d.




                                                                                   Total claim

Total claims 6f. Student loans                                              6f.                  0.00
                                                                                    s
from Part
                69. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority                               0.00
                    claims                                                  69.     s
                6h. Debts to pension or profit-sharing plans, and other
                                                                                                 0.00
                    similar debts                                           6h.

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.


                6j. Total. Add lines 6f through 6i.




 Official Form IWUF                               Schedule UF:Creditors Who Have Unsecured Claims
                   Case 16-27568                   Doc 1          Filed 08/27/16 Entered 08/27/16 13:30:57                            Desc Main
                                                                   Document     Page 23 of 30

     Debtor              Nickie                                             Gregoriou
                       Firnt N m e                 Muddle N m e            LPrl Name



I    Debtor 2
     (spouse If filrng) Finn Name                  Mtddle Nun.¶            Lasl Name
                                                                                                 I
     United States Bankruptcy Court for the:                              District of 'linois
                                                                                       (Slate)   I
     Case number
     (If known)
                                                                                                 I                                             Check if this is an
                                                                                                                                               amended filing


Official Form 106G
Schedule G: Executorv Contracts and Unexpired Leases
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill i t out, number the entries, and attach i t to this page. On the top of any
additional pages, write your name and case number (if known).


     1. Do you have any executory contracts or unexpired leases?
          a No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          a Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule Am:Propefiy (Official Form 106AlB).
     2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts ana
        unexpired leases.



          Person or company with whom you have the contract or lease                                 State what the contract or lease is for



          Name

          Numkr           Street

          CltY                                 State      ZIP Code

    2.2
          Name

          Number          Street

          City                                 State      ZIP Code
    2.3
          Name

          Number          Street

          City                                 State      ZIP Code


          Name

          Number          Street

          City                                 State      ZIP Code
    2.5
          Name

          Number          Street

          City                                 State      ZIP Code


Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                                     page 1 of   -
                         Case 16-27568                      Doc 1             Filed 08/27/16 Entered 08/27/16 13:30:57                                Desc Main
                                                                               Document     Page 24 of 30
    Fill in this inforrnafion to identify your case:

                                                                                     Gregoriou
    Debtor I                  Nickie
                             FmName                         k   ~ Name
                                                                    ~    e           LdY Name

    Debtor 2
    (Spouse. 11filing) Frst Name                            w   e~ame                L a Name

                                                         Northern                    Distria or   Illinois
    United States Bankruptcy Court for the:
                                                                                                  (State)

    Case number
    Ilf known)                                                                                                                                               0 Check if this is an
                                                                                                                                                                amended filing

Official Form 106H
pp                 --




Schedule H: Your Codebtors
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

    I. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
             S No
             0 Yes
    2. Within the last 8 years, have you lived in a community property state or territory? (Community propelty states and territories include
             Arizona. California, Idaho, Louisiana. Nevada, New Mexico, Puerto Rim. Texas, Washington, and Wisconsin.)
             5 No. Go to line 3.
             0 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                         No
                    0 Yes. In which community state or territory did you live?                                    . Fill in the name and current address of that person


                           Name of your spouse. f m r spowe, or legal equivalent


                           Nunhr            Street




    3.       In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
             shown in line 2 again as a codebtor only i f that person is a guarantor or cosigner. Make sure you have listed the creditor on
              Schedule D (Official Form 106D), Schedule E/F (Official Form lOBEF), or Schedule G (Official Form 106G). Use Schedule D,
              Schedule UF, or Schedule G to flll out Column 2.

              Column 1: Your codebtor                                                                                     Column 2: The creditor to whom you owe the debt

                                                                                                                           Check all schedules that apply:


                  Name
                                                                                                                           0   Schedule D, line
                                                                                                                           a Schedule EIF, line
                  Number           Sueet                                                                                   0   Schedule G,line

C        i    t     v                                                        State                     n~ Code

                  Name
                                                                                                                           0 Schedule D, line
                                                                                                                           0 Schedule EIF, line
                  Number           Street                                                                                  0 Schedule G, line
                                                                             State                     ZIP Code


                  Name                                                                                                     a Schedule D, line
                                                                                                                           a Schedule € I F , line
                  Number           Streel                                                                                  a schedule G,line
                  Cily                                                       Slate                    ZIP Code
                   Case 16-27568                Doc 1        Filed 08/27/16 Entered 08/27/16 13:30:57                                 Desc Main
                                                              Document     Page 25 of 30

                                                                       Gregoriou
     Debtor l            Nickie                                        Lasl Name
                       F a ~Name
                            l                   MWI~ rma



I    Debtor 2
     (Spouse. if filing) Flm Name               MlWle Name             Last Name

                                                                       District of   Illinois
     United States Bankruptcy Court for the:
                                                                                      (State)


I    Case number
     (If known)
                                                                                                             Check if this is:
                                                                                                             0 An amended filing
                                                                                                                   A supplement showing postpetition chapter 13
                                                                                                                   income as of the following date:
    Official Form 1061                                                                                             MM IDD IW Y Y

    Schedule I: Your Income                                                                                                                                12115

    Be as complete and accurate as possible. If two married people are filing together (Debtor 1and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include Information about your spouse.
    If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
    separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                      Describe Employment


    I. Fill in your employment
          information.                                                       Debtor I                                        Debtor 2 or non-filing spouse

          If you have more than one job,
          attach a separate page with
          information about additional         Employment status           0 Employed                                        0 Employed
          employers.                                                       a Not employed                                    a Not employed
          Include part-time, seasonal, or
          self-employed work.
                                               Occupation
          Occupation may include student
          or homemaker, if it applies.
                                               Employer's name

                                               Employer's address
                                                                          Number Street                                    Number   Street




                                                                          City                  State   ZIP Code           City                 State   ZIP Code

                                               How long employed there?




          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
          spouse unless you are separated.
          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
          below If you need more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                            non-filing spouse
     2. List monthly gross wages, salary, and commissions (before all payroll
           deductions). If not paid monthly, calculate what the monthly wage would be.          2.

     3. Estimate and list monthly overtime pay.


     4.   Calculate gross income. Add line 2 + line 3.



    Official Form 1061                                              Schedule I:Your Income
                 Case 16-27568                       Doc 1               Filed 08/27/16           Entered 08/27/16 13:30:57             Desc Main
                  Nickie                                              Document
                                                                G~egoriou                        Page 26 of 30
                                                                                                         Case number (dknavn)
Debtor 1
                  Fm Name           W   e Nane                ~ aM
                                                                 a ame



                                                                                                              For Debtor 1   For Debtor 2 or
                                                                                                                             non-filing spouse
                                                                                                                               $ 0.00
      Copy line 4 here ....................   .
                                              ....... ......................... ....~.
 5 List all payroll deductions:

       5a Tax, Medicare, and Social Security deductions
       5b Mandatory contributions for retirement plans
       5c Voluntary contributions for retirement plans
       5d. Required repayments of retirement fund loans
       5e Insurance
       5f Domestic support obligations

       5g Union dues
       5h Other deductions. Specify

  5 Add the payroll deductions Add l~nes5a + 5b + 5c + 5d + 5e +5f + 59 + 5h


  7    Calculate total monthly take-home pay. Subtract line 6 from llne 4.

 8. List all other income regularly received:
       8a Net income from rental property and from operating a business,
           profession, or farm
           Attach a statement for each property and bus~nessshowing gross
           rece~pts,ordinary and necessary business expenses, and the total
           monthly net income.
       8b. Interest and dividends
        8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include al~mony,spousal support, child support, marntenance, divorce                              $                $
            sefflement, and property settlement.                                 8c
       8d. Unemployment compensation
        8e. Social Security
        8f. Other government assistance that you regularly receive
            Include cash asslstance and the value ( ~known)
                                                      f     of any noncash asslstance
            that you receive, such as food stamps (benehts under the Supplemental
            Nutnhon Assistance Program) or housing subsidies
            Specify:                                                                8f.                       3                $

        89. Pension or retirement income

        8h Other monthly income. Spec~fy                                   Income                      8h + $     990.00     +$
  9    Add all other income. Add l~nes8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.
                                                                                                       9 . p - G c q
 l o Calculate monthly income. Add l~ne
                                      7 + line 9
       Add the entries In l~ne10 for Debtor 1 and Debtor 2 or non-fil~ngspouse.                        10

 11 State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmamed partner, members of your household, your dependents, your roommates, and other
       fr~endsor relat~ves.
       Do not Include any amounts already fncluded In l~nes2-10 or amounts that are not available to pay expenses llsted in Schedule J
       Specify:                                                                                                                                  11.   +   $

 12. Add    the amount in the last column of line 10 to the amount in line 11. The result is the cornbtned monthly Income
       Write that amount on the Summary of Your Assets and Llabrl~tiesand Gertarn Stat~sbcalInfornabon, ~fit applies
                                                                                                                                                           Combined
                                                                                                                                                           monthly income
  13    Do you expect an increase or decrease within the year after you file this form?
        -
        U No
        a Yes. Expla~n                                                                                                                                                      I
  Official Form 1061                                                                 Schedule I:Your Income
                Case 16-27568               Doc 1         Filed 08/27/16 Entered 08/27/16 13:30:57                                       Desc Main
                                                           Document     Page 27 of 30
  Fill in this information to identify your case:                                                    I
  Debtor I          Nickie                                            Greg0ri0~                             Check if this is:
                   Ftm Name                 M l e Nane                Last Name

  Debtor 2
  (Spouse.~ffil~ng)F I ~ S an               hwrne Name                  ~ame
                                                                      LP~
                                                                                                            a An amended filing
                                           No*ern                     Distna of Illinois
                                                                                                            0 A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the                                                                        expenses as of the following date:
                                                                                  (State)
  Case number                                                                                                   MM I DDI W
   (Ifknown)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.



1. Is this a joint case?

   a No. Go to line 2.
   0 Yes. Does Debtor 2 live in a separate household?
               R   No
                   Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Householdof Debtor 2.

2. Do you have dependents?                 GI No                                         Dependent's relationship to            Dependent's      Does dependent llve
   Do not list Debtor 1 and                C] Yes. Fill out this information for         Debtor 1 or Debtor 2                   age              with you?
   Debtor 2.                                   each dependent                      ...
   Do not state the dependents'
                                                                                                                                                 0 No
   names.                                                                                                                                        a yes
                                                                                                                                                 O   No
                                                                                                                                                 O   Yes
                                                                                                                                                 O   No
                                                                                                                                                     Yes
                                                                                                                                                 O   No
                                                                                                                                                 0 Yes
                                                                                                                                                 O   No
                                                                                                                                                 L l Yes
3. Do your expenses include
   expenses of people other than           a No
   yourself and your dependents?           a Yes
P a r t 2:     Estimate l o u r Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy flling date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J,check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included i t on Schedule I:Your Income (Official Form 1061.)                                              Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                      1,214.00
     any rent for the ground or lot.                                                                                              S

     If not included in line 4:
     4a.     Real estate taxes
     4b.     Properly, homeowner's, or renter's insurance
     4c.     Home maintenance, repair, and upkeep expenses
     4d.     Homeowner's association or condominium dues

  Official Form 106J                                         Schedule J: Your Expenses
                   Case 16-27568                Doc 1         Filed 08/27/16 Entered 08/27/16 13:30:57                            Desc Main
                                                               Document     Page 28 of 30
                   Nickie                          Gregoriou                                Case number (nrmavn)
Debtor 1
                   F m Name      MuMa w a n e      LES Name




                                                                                                                              Your expenses

                                                                                                                              $
 5. Additional mortgage payments for your residence, such as home equity loans                                     5.


 6. Utilities:
       6a.   Electricity. heat, natural gas
       6b.   Water, sewer. garbage collection
       6c.   Telephone, cell phone, Internet, satellite, and cable services
       6d.   Other. Specify:

 7     Food and housekeeping supplies

 8     Childcare and children's education costs
 9     Clothing, laundry, and dry cleaning
10     Personal care products and sewices
11. Medical and dental expenses
12. Transportation, Include gas, maintenance. bus or tram fare
       Do not ~ncludecar payments.
13.     Entertainment, clubs, recreation, newspapers, magazines, and books
14      Charitable contributions and religious donations

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance

        15b. Health insurance

        1.5~.Vehicle insurance

        15d. Other insurance. Specify:

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify:

17. Installment or lease payments:

        17a. Car payments for Vehicle 1

        17b. Car payments for Vehicle 2

        17c. Other. Specify:

        176. Other. Specify:

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I
                                    ,Your Income (Official Form 1061).

19. Other payments you make to support others who do not live with you.

       Specify:                                                                                                         19.   $

20. Other real property expenses not included in lines 4 or 5 of this form or on Scheclole I:Your Income,

        20a. Mortgages on other property                                                                           20a.       $

        20b. Real estate taxes                                                                                     20b.       $

        20c. Property, homeowner's, or renter's insurance                                                          20c.       %
        20d. Maintenance. repair, and upkeep expenses                                                              20d.       $

        20e. Homeowner's association or condominium dues                                                           20e.       $



      Official Form 106J                                        Schedule J: Your Expenses
              Case 16-27568               Doc 1       Filed 08/27/16 Entered 08/27/16 13:30:57                    Desc Main
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Debtor 1       Nickie                          Gqoriou                                     Case number (nlmavn)
               Flm ltme     M&b    Namc       Last Name




21. Other. Specify:


22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.

    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

    22c. Add line 22a and 22b. The result is your monthly expenses.



23. Calculate your monthly net income.
   23a.    Copy line 12 (yourcombined monthly income) from Schedule I.

   23b.    Copy your monthly expenses from line 22c above.

   23c.    Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

   For example, do you expect to finish paylng for your car loan mth~nthe year or do you expect your
   mortgage payment to increase or decrease because of a modification to the t e n s of your mortgage?

   O   No.
   a Yes         Explain here:




  Official Form 106J                                      Schedule J: Your Expenses
                    Case 16-27568             Doc 1      Filed 08/27/16 Entered 08/27/16 13:30:57                                    Desc Main
                                                          Document     Page 30 of 30


                                          Mb3d.2 Nana


(Spouse, if filing) F m Nane              m   e Name           Las Name

United States Bankruptcy Court for the:
                                          Northern

                                                                                                                                         a Check if this is an
                                                                                                                                             amended filing


  Official Form 1O6Dec
  Declaration About an Individual Debtor's Schedules
  tf two married people are filing together, both are equally responsible for supplying correct information.
  You must flle this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. tjs 152,1341,1519, and 3571.




       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


      2! "" Yes. Name of person                                                       .Attach Bankruptcy Pehtion Preparer's Notice, Oeclarat!on,and
                                                                                          Sig~iature(OfficialF m 119)




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct



    X                                                         X
                                                                  Signature of Debtor 2


         Date                                                     Date
                MMI DD I       Yi'fi                                      MMI DD 1 YYW




 Official Form 106Dec                                   Declaration About an Individual Debtor's Schedules
